PROB. 12
‘R“"'a's°’ ease 2:02-cr-2017e-BBD Documem 31 Filed 05/16/05 Page 1 of 3 PagelD 33

 

   

UNITEI) sTATEs msTRICT CoURT .t, __ 'c.<>-
nine '-'J
for asset \@ iii 6""*\
wEsTERN DISTRICT oF TENNESSEEC g j-d;\cié?
F`» =:‘-- -.i'*.iv;ti"`$
U.s.A. vs. CARoL LYNN RoBiNsoN Dtj__`dkemdi`." `2`£02€1120173-01 /

 

 

2:02C 0177~01

Petitiou on Probation and Supervised Release

COMES NOW NICOLE D. PETERSON . PROBATION OFFlCER OF THE COURT presenting
an official report upon the conduct and attitude of Caroi Lynn Robinson who Was placed on supervision by the
Honorable Begice B. Donald sitting in the Court at Memphis, TN , on the 16th day of September , 2003, who
fixed the period of supervision at three 131 yeLs , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed special conditions and terms as follows:

 

l. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the Probation
Officer for treatment of narcotic addiction or drug or alcohoi dependency...

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines ofcredit, or making
an obligation for any major purchases without approval of the Probation Officer.

3. The defendant shall provide the Probation Officer access to any requested financial information
4. The defendant shall make third-party risk notification

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(li' short insert here; if lengthy write on separate sheet and attach)

Ms. Robinson will officially begin supervision in the Western District of Tennessee(Memphis) on May l l, 2005. She is
currently being housed at Diersen Charities in Memphis. At an initial meeting with this officer, the defendant indicated that
she could benefit from mental health treatment In order for this officer to effectively supervise and monitor this case, a
special condition requiring the defendant to submit to mental health treatment as deemed appropriate is needed. She has
signed Probation Form 49[Wa1ver Of Hearing To Modify Conditiens Of Probation, adding the special condition of
participation in mental heaith treatment as directed by the Probation Off.ice.

PRAYING THAT THE COURT WII..L ORDER that Carol Lynn Robinson’s Conditions of Supervised Release be
MODIFIE]) to include the special condition of participation in mental health treatment as directed by the Probation Office.

 

ORDER OF COURT RESPECTFULLY,
Considered and ordered this [@_Wday Wwék%t<'_"
of 200J , and ordered filed NICOLE D. PETERSON ""°
and mad part of the records in the above United States Probation ()fficer

CB.SC.

Place: Memt)his_ Tennessee

     

U ted States istrict Judge Date: Mav 4. 2005

 

PROB 4SCase 2:02-cr-20178-BBD Document 81 Filed 05/16/05 Page 2 of 3 Page|D 84
(3/39)

Unr'ted States Distrr‘ct Court
WE:STERN District TENN§SSEE

Waiver of Hearing to Modify Conditions
of ProbationISupervised Re|ease or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Re|ease or
my period of supervision being extended By "assistance of counsei," | understand that l have the right to
be represented at the hearing by counsel of my own choosing if l am able to retain counsel. i also
understand that i have the right to request the court to appoint counsel to represent me at such a hearing
at no cost to myself if l am not able to retain counsel of my own choosing

| hereby voluntarily waive my statutory right to a hearing and to assistance of counse|. i also agree to
the following modifications of my Conditions of Probation and Supervised Re|ease or to the proposed
extension of my term of supervision:

The defendant shall participate in Menta| Heaith Treatment as deemed necessary/directed by the
U. S. Probation Ofiice.

Wltness: _M: Signed: Md/%W

NICOLE D. PETERSON CAROL L¥NN ROB|NSON
U. S. Probation Oflicer ProbationerlSupervised Reieasee

 

UNITED sATE DSTIIC COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 81 in
case 2:02-CR-20178 vvas distributed by faX, mail, or direct printing on
May l8, 2005 to the parties listedl

 

 

Stephen R. Leffler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

